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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 24-cr-88 (NYW)

UNITED STATES OF AMERICA,

             Plaintiff,

v.

TAREK KASSEM,

           Defendant.
______________________________________________________________________

                  NOTICE OF ATTORNEY APPEARANCE
______________________________________________________________________

      The Office of the Federal Public Defender, by and through undersigned counsel,

hereby enters its appearance in the above-captioned case.


                                       Respectfully submitted,

                                       VIRGINIA L. GRADY
                                       Federal Public Defender


                                       s/ Jared Scott Westbroek
                                       JARED SCOTT WESTBROEK
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                              CERTIFICATE OF SERVICE


      I hereby certify that on July 17, 2025, I electronically filed the foregoing Notice of
Attorney Appearance with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the following e-mail address(es):

                                Nicole Cassidy, AUSA
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                                          s/ Jared Scott Westbroek
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